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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 16-80170-CV-MARRA

  HARBOURSIDE PLACE, LLC, a
  Florida limited liability company,

                           Plaintiff,
  vs.

  TOWN OF JUPITER, FLORIDA, a Florida
  municipal corporation, JUPITER COMMUNITY
  REDEVELOPMENT AGENCY, a
  dependent special district of the Town
  of Jupiter, Florida

                           Defendant.
                                        /


                        ORDER ON MOTION FOR RECONSIDERATION

         THIS CAUSE is before the Court upon Plaintiff's Motion for Reconsideration [DE 174].

  This Court having reviewed the pertinent portions of the record and being duly advised in the

  premises, it is hereby

         ORDERED and ADJUDGED that the Motion is DENIED.

         DONE and ORDERED in West Palm Beach, Florida, this 30th day of July, 2018.




                                              KENNETH A. MARRA
                                              UNITED STATES DISTRICT JUDGE
  Copies provided to:

         All counsel
